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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 14, 2019



________________________________________________________________

                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

In re:                                           :
                                                 :
   David L Baucom                                :       Case No.: 19-11123
   Regina K Baucom                               :       Chapter 7
                                                 :       Judge Beth A. Buchanan
         Debtor(s).                              :       ***********************
                                                 :
                                                 :

 ORDER GRANTING MOTION FOR RELIEF FROM STAY (DOCKET NUMBER 14)
  ON FIRST MORTGAGE AS TO REAL PROPERTY LOCATED AT 6592 STATE
                  ROUTE 48, GOSHEN, OH 45122

         This matter came to be considered on the Motion for Relief from Stay (the "Motion")

filed by Nationstar Mortgage LLC d/b/a Mr. Cooper ("Creditor") filed as Docket Number 14.

         Creditor has alleged that good cause exists for granting the Motion and that David L

Baucom and Regina K Baucom (collectively, ''Debtor''), counsel for the Debtor, the Trustee, and

all other necessary parties were served with the Motion. No party filed a response or otherwise

appeared in opposition to the Motion.

         Based on this, it appears appropriate to grant the relief requested.



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1.       The Motion is granted and the automatic stay imposed by 11 U.S.C. § 362 of the

         Bankruptcy Code is terminated with respect to the Creditor and its successors and

         assigns, as to the real property owned by Debtor and located at 6592 State Route 48,

         Goshen, OH 45122.

2.       Creditor may proceed with an action to reclaim and liquidate Debtor's real property

         located at 6592 State Route 48, Goshen, OH 45122.


SO ORDERED.

SUBMITTED BY:
     /s/ Adam B. Hall
Adam B. Hall (0088234)
Edward H. Cahill (0088985)
John R. Cummins (0036811)
Stephen R. Franks (0075345)
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Attorneys for Creditor
The case attorney for this file is Adam B. Hall.
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Copies to:
Default list plus additional parties

     David L Baucom and Regina K Baucom, P.O. Box 92, Goshen, OH 45122
     (notified by regular US Mail)

     David L Baucom and Regina K Baucom, 6592 State Route 48, Goshen, OH 45122
     (notified by regular US Mail)

     Clermont County Treasurer, 101 East Main Street, Batavia, OH 45103
     (notified by regular US Mail)
